 1                                                                       Hon. Jamal N. Whitehead

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 7                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
 8                                       AT SEATTLE

 9   MAYTRONICS, LTD.,

10                                        Plaintiff,    Case No. 2:23-cv-01406-JNW

11             v.
                                                        STIPULATION FOR EXTENSION OF
12   CHASING INNOVATION TECHNOLOGY                      TIME AND [PROPOSED] ORDER
     CO., LTD. and CHASING TECHNOLOGY
13   (USA), LLC,                                        NOTE ON MOTIONS CALENDAR:
                                                        November 15, 2023
14                                     Defendants.

15
                                             STIPULATION
16
               In accordance with Local Civil Rule 7(j), plaintiff Maytronics Ltd. (“Plaintiff” or
17

18   “Maytronics”) and defendants Chasing Innovation Technology Co., Ltd. (“Chasing-China”)

19   and Chasing Technology (USA), LLC (“Chasing-USA”) (collectively “Defendants” or

20   “Chasing”) agree to an extension of time for Defendants to answer, respond, or otherwise
21   defend against the complaint in the above-referenced action. Defendants have not yet
22
     appeared in this action, but they have authorized Plaintiff to file this stipulation on their
23
     behalf.
24
               There is good cause for the stipulation. Chasing-China has agreed to waive service,
25

26   and it is most efficient for both Defendants to answer, respond, or otherwise defend against

                                                                                 K&L GATES LLP
     STIPULATED MOTION FOR EXTENSION AND                                   925 FOURTH AVENUE, SUITE 2900
                                                                               SEATTLE, WA 98104-1158
     [PROPOSED] ORDER - 1                                                       Telephone: +1 206 623 7580
     CASE NO. 2:23-cv-01406                                                     Facsimile: +1 206 623 7022
 1   the complaint on the same schedule. See Exhibit 1 (waiver form); Dkt. No. 9 (affidavit of

 2   service of summons on Chasing-USA).
 3
            Accordingly, the parties request an order permitting Defendants to answer, respond, or
 4
     otherwise defend against the complaint by January 16, 2024; and the parties further request
 5
     an order extending the following case deadlines: Initial disclosures deadline to December 6,
 6
     2023; and Joint Status Report and Discovery Plan deadline to December 13, 2023.
 7

 8          IT IS SO STIPULATED

 9          DATED this 15th day of November, 2023.
10

11                                                    K&L GATES LLP
12
                                                      By     s/ Christopher M. Wyant
13                                                         Christopher M. Wyant, WSBA #35561
                                                           Shelby R. Stoner, WSBA # 52837
14                                                         925 Fourth Avenue, Suite 2900
                                                           Seattle, WA 98104
15
                                                           Phone: (206) 623-7580
16                                                         Fax: (206) 623-7022
                                                           chris.wyant@klgates.com
17                                                         shelby.stoner@klgates.com

18                                                    Attorneys for Plaintiff Maytronics, Ltd.
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                                                                                 K&L GATES LLP
     STIPULATED MOTION FOR EXTENSION AND                                   925 FOURTH AVENUE, SUITE 2900
                                                                               SEATTLE, WA 98104-1158
     [PROPOSED] ORDER - 2                                                       Telephone: +1 206 623 7580
     CASE NO. 2:23-cv-01406                                                     Facsimile: +1 206 623 7022
 1                                             ORDER

 2
             Upon consideration of the Parties’ Stipulated Motion for Extension, the Court finds
 3
     that good cause exists to extend certain deadlines, and it is hereby ORDERED that the Motion
 4
     is GRANTED.
 5
             It is FURTHER ORDERED that filing deadlines and the current case schedule will be
 6
     modified as follows.
 7
     Event                                         Current Date          New Date
 8

 9   Responsive Pleading                           October 12, 2023      January 16, 2024
10

11   Initial disclosures pursuant to Fed. R. Civ. November 15, 2023      December 6, 2023

12   P. 26(a)(1)

13
     Joint Status Report and Discovery Plan as November 22, 2023         December 13, 2023
14
     required by Fed. R. Civ. P. 26(f) and Local
15
     Civil Rule 26(f)
16

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19
             IT IS SO ORDERED.
20
             DATED this            day of                  , 2023.
21

22
                                               By:
23                                                         JAMAL N. WHITEHEAD
                                                           U.S. District Judge
24

25   ///
26

                                                                                K&L GATES LLP
     STIPULATED MOTION FOR EXTENSION AND                                  925 FOURTH AVENUE, SUITE 2900
                                                                              SEATTLE, WA 98104-1158
     [PROPOSED] ORDER - 3                                                      Telephone: +1 206 623 7580
     CASE NO. 2:23-cv-01406                                                    Facsimile: +1 206 623 7022
 1   Presented by:

 2   K&L GATES LLP

 3   By    s/ Christopher M. Wyant
        Christopher M. Wyant, WSBA #35561
 4      Shelby R. Stoner, WSBA # 52837
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 5   Seattle, WA 98104
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 6   Fax: (206) 623-7022
     Email: chris.wyant@klgates.com
 7           shelby.stoner@klgates.com

 8   Attorneys for Plaintiff Maytronics, Ltd.

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                                                      K&L GATES LLP
     STIPULATED MOTION FOR EXTENSION AND        925 FOURTH AVENUE, SUITE 2900
                                                    SEATTLE, WA 98104-1158
     [PROPOSED] ORDER - 4                            Telephone: +1 206 623 7580
     CASE NO. 2:23-cv-01406                          Facsimile: +1 206 623 7022
EXHIBIT 1
AO 399 (01/09) Waiver of the Service of Summons



                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                      Western District
                                                     __________        of Washington
                                                                District  of __________

                    MAYTRONICS, LTD.,                                        )
                              Plaintiff                                      )
                                 v.                                          )   Civil Action No. 2:23-cv-01406
 CHASING INNOVATION TECHNOLOGY CO., LTD.                                     )
                            Defendant                                        )

                                            WAIVER OF THE SERVICE OF SUMMONS

To: Christopher Wyant, Jeffrey Gargagno, K& L Gates
             (Name of the plaintiff’s attorney or unrepresented plaintiff)

       I have received your request to waive service of a summons in this action along with a copy of the complaint,
two copies of this waiver form, and a prepaid means of returning one signed copy of the form to you.

          I, or the entity I represent, agree to save the expense of serving a summons and complaint in this case.

         I understand that I, or the entity I represent, will keep all defenses or objections to the lawsuit, the court’s
jurisdiction, and the venue of the action, but that I waive any objections to the absence of a summons or of service.

        I also understand that I, or the entity I represent, must file and serve an answer or a motion under Rule 12 within
60 days from                10/16/2023            , the date when this request was sent (or 90 days if it was sent outside the
United States). If I fail to do so, a default judgment will be entered against me or the entity I represent.

Date:          11/09/2023                                                                              /s/ Donald R. McPhail
                                                                                            Signature of the attorney or unrepresented party

         Chasing Innovation Technology Co., Ltd                                                          Donald R. McPhail
        Printed name of party waiving service of summons                                                      Printed name
                                                                                          Oblon, McClelland, Maier & Neustadt LLC
                                                                                                     1940 Duke Street
                                                                                                   Alexandria, VA 22314
                                                                                                                 Address

                                                                                                       dmcphail@oblon.com
                                                                                                             E-mail address

                                                                                                           (703) 412-1432
                                                                                                           Telephone number

                                           Duty to Avoid Unnecessary Expenses of Serving a Summons

          Rule 4 of the Federal Rules of Civil Procedure requires certain defendants to cooperate in saving unnecessary expenses of serving a summons
and complaint. A defendant who is located in the United States and who fails to return a signed waiver of service requested by a plaintiff located in
the United States will be required to pay the expenses of service, unless the defendant shows good cause for the failure.

          “Good cause” does not include a belief that the lawsuit is groundless, or that it has been brought in an improper venue, or that the court has
no jurisdiction over this matter or over the defendant or the defendant’s property.

        If the waiver is signed and returned, you can still make these and all other defenses and objections, but you cannot object to the absence of
a summons or of service.

           If you waive service, then you must, within the time specified on the waiver form, serve an answer or a motion under Rule 12 on the plaintiff
and file a copy with the court. By signing and returning the waiver form, you are allowed more time to respond than if a summons had been served.
